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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

WENDY DEAN,

Plaintiff,                                 Civil Action No. 1:22-cv-02112-CAP

v.

STARMOUNT PROPERTIES, LLC,
EZRA JORDAN, and SANDRA
JORDAN,

Defendants.



                       MOTION FOR LEAVE OF ABSENCE

       COMES NOW BRIAN SPEARS, and requests the Court grant him a leave

of absence from this Court for the following periods: October 17-November 17,

2022. Counsel shows to the Court that during the periods of time set forth, he will

be out of the state for professional development and family vacation. No

proceedings are set in this action which require his appearance during these periods

of time.




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      WHEREFORE, Brian Spears respectfully requests that his Motion for Leave

of Absence be granted and that no proceedings be scheduled or held in the above-

styled matter during the periods set forth above.

      Submitted this 1st day of June, 2022.


                                       G. Brian Spears
                                       Bar No. 670112
                                       bspears@civil-rights.law
                                       Spears & Filipovits, LLC
                                       315 W. Ponce de Leon Ave.
                                       Suite 865
                                       Decatur, GA 30030
                                       404-905-2225




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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 1, 2022, I electronically filed the attached with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to all counsel of record.



                                         G. Brian Spears
                                         Bar No. 670112
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                                         Spears & Filipovits, LLC
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